Case 8:20-cv-02389-CJC-ADS Document 1 Filed 12/21/20 Page 1 of 12 Page ID #:1



 1   Nicholas M. Wajda (Cal. Bar No. 259178)
 2   WAJDA LAW GROUP, APC
     6167 Bristol Parkway
 3   Suite 200
 4   Culver City, California 90230
     +1 310-997-0471
 5   nick@wajdalawgroup.com
 6
     Attorney for the Plaintiff
 7

 8                  UNITED STATES DISTRICT COURT FOR THE
                       CENTRAL DISTRICT OF CALIFORNIA
 9

10
      RADLEY BRADFORD,                        Case No. 8:20-cv-02389
      individually, and on behalf of others
11
      similarly situated,
                                              CLASS ACTION COMPLAINT FOR
12
                      Plaintiff,              DAMAGES
            v.
13    QUEST HEALTHCONNECT, LLC, 1. VIOLATIONS OF THE
14
                Defendant.      TELEPHONE CONSUMER
                                PROTECTION ACT, 47 U.S.C. § 227
15                              ET SEQ.
16

17                                            JURY TRIAL DEMANDED
18
                              CLASS ACTION COMPLAINT
19

20         NOW COMES RADLEY BRADFORD, individually, and on behalf of all
21
     others similarly situated, through his undersigned counsel, complaining of QUEST
22
     HEALTHCONNECT, LLC, as follows:
23

24                                 NATURE OF THE ACTION
25
           1.     Plaintiff brings this action seeking redress for violations of the
26
     Telephone Consumer Protection Act (“TCPA”), 47 U.S.C. § 227 et seq.
27

28
                                                1
Case 8:20-cv-02389-CJC-ADS Document 1 Filed 12/21/20 Page 2 of 12 Page ID #:2



 1         2.     “The primary purpose of the TCPA was to protect individuals from the
 2
     harassment, invasion of privacy, inconvenience, nuisance, and other harms
 3

 4   associated with unsolicited, automated calls.” Parchman v. SLM Corp., 896 F.3d 728,

 5   738-39 (6th Cir. 2018) citing Telephone Consumer Protection Act of 1991, Pub. L.
 6
     No. 102-243, § 2, 105 Stat. 2394 (1991).
 7

 8         3.     As the Supreme Court recently observed, “Americans passionately
 9   disagree about many things. But they are largely united in their disdain for robocalls.”
10
     Barr v. Am. Ass’n of Political Consultants, 140 S. Ct. 2335, 2343 (2020).
11

12                             JURISDICTION AND VENUE
13         4.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331.
14
           5.     Venue in this district is proper pursuant to 28 U.S.C. § 1391(b)(1).
15

16                               PARTIES
           6.     RADLEY BRADFORD (“Plaintiff”) is a natural person, over 18-years-
17

18   of-age, who at all times relevant resided in Houston, Texas.
19
           7.     Plaintiff is a “person” as defined by 47 U.S.C. § 153(39).
20
           8.     According to its website, QUEST HEALTHCONNECT, LLC
21

22   (“Defendant”) is a healthcare company that works with health insurance providers to
23
     create an effective approach to engage and connect with its customers.
24
           9.     Defendant maintains its principal place of business at 1241 East Dyer
25

26   Road, Ste. 145, Santa Ana, California 92705.
27
           10.    Defendant is a “person” as defined by 47 U.S.C. § 153(39).
28
                                                 2
Case 8:20-cv-02389-CJC-ADS Document 1 Filed 12/21/20 Page 3 of 12 Page ID #:3



 1                             GENERAL ALLEGATIONS
 2
           11.    Defendant develops marketing campaigns using a combination of sales
 3

 4   channels, with an emphasis on outbound telemarketing.

 5         12.    Upon information and belief, Defendant utilizes third party vendors to
 6
     market its preventive care technology and health risk assessment services.
 7

 8         13.    Defendant’s vendors are essential to its telemarketing campaigns.
 9         14.    Defendant’s ability to generate revenue depends significantly on its
10
     access to high-quality vendors.
11

12         15.    Upon information and belief, Defendant’s outbound telemarketing
13   efforts include the use of an automatic telephone dialing system (“ATDS”) to solicit
14
     consumers nationwide.
15

16         16.    The Federal Trade Commission (“FTC”) has held that a basic function
17   of an ATDS is the ability to dial thousands of numbers in a short time period.
18
           17.    Upon information and belief, Defendant uses technology that has the
19

20   capacity to produce telephone numbers using a random or sequential number
21
     generator in order to contact as many consumers as possible to market its services to.
22
           18.    An ATDS allows Defendant’s telemarketing agents to only
23

24   communicate with consumers who answer their phone.
25
           19.    Consequently, Defendant’s unsolicited telemarketing calls shift the
26
     burden of wasted time to consumers.
27

28
                                                3
Case 8:20-cv-02389-CJC-ADS Document 1 Filed 12/21/20 Page 4 of 12 Page ID #:4



 1                              FACTUAL ALLEGATIONS
 2
           20.    At all times relevant, Plaintiff was the sole operator, possessor, and
 3

 4   subscriber of the cellular telephone number ending in 7679.

 5         21.    At all times relevant, Plaintiff’s number ending in 7679 was assigned to
 6
     a cellular telephone service as specified in 47 U.S.C. § 227(b)(1)(A)(iii).
 7

 8         22.    At all times relevant, Plaintiff was financially responsible for his cellular
 9   telephone equipment and services.
10
           23.    At all times relevant, Plaintiff was registered with the National Do Not
11

12   Call Registry.
13         24.    On November 4, 2020, Plaintiff received a solicitation call from
14
     Defendant.
15

16         25.    Upon     answering     Defendant’s      solicitation   call,   Defendant’s
17   representative stated that she was calling Plaintiff on behalf of Aetna, Plaintiff’s
18
     health insurance provider, regarding an eye exam.
19

20         26.    Plaintiff advised Defendant’s representative that at no point in time did
21
     Plaintiff request an eye exam from Aetna or any medical service provider.
22
           27.    At no point in time did Plaintiff authorize Defendant or any of Aetna’s
23

24   purported vendors to place calls to his cellular phone.
25
           28.    From November 4, 2020 through the present, Plaintiff has received no
26
     less than three (3) solicitation calls from Defendant regarding medical services that
27

28   he never requested, including calls from the phone number (888) 489-3585.
                                                 4
Case 8:20-cv-02389-CJC-ADS Document 1 Filed 12/21/20 Page 5 of 12 Page ID #:5



 1         29.    During each answered call, Plaintiff was greeted by a lengthy period of
 2
     dead air and Plaintiff was required to say “hello” numerous times before being
 3

 4   connected to a live representative.

 5                                         DAMAGES
 6
           30.    Defendant enjoys his solitude and Defendant’s solicitation calls were
 7

 8   highly intrusive to Plaintiff.
 9         31.     Defendant’s invasive calls and illegal telemarketing activities have
10
     caused Plaintiff actual harm, including but not limited to: invasion of privacy;
11

12   nuisance; wasting Plaintiff’s time; the increased risk of personal injury resulting from
13   the distraction caused by unsolicited telemarketing phone calls; aggravation that
14
     accompanies unwanted telephone calls; emotional distress; frustration; loss of
15

16   concentration; and the loss of battery charge.
17         32.    Moreover, each time Defendant placed a telephone call to Plaintiff,
18
     Defendant occupied Plaintiff’s cellular phone such that Plaintiff was unable to
19

20   receive other phone calls or otherwise utilize his cellular phone while his phone was
21
     ringing.
22
           33.    Concerned with Defendant’s intrusive telemarketing practices, Plaintiff
23

24   retained counsel to compel Defendant to cease its unlawful telemarketing practices.
25
                                      CLASS ALLEGATIONS
26
           34.    All paragraphs of this Complaint are expressly adopted and incorporated
27

28   herein as though fully set forth herein.
                                                 5
Case 8:20-cv-02389-CJC-ADS Document 1 Filed 12/21/20 Page 6 of 12 Page ID #:6



 1         35.    Plaintiff brings this action pursuant to Fed. R. Civ. P. 23(b)(2) and
 2
     23(b)(3) individually, and on behalf of all others similarly situated (“Putative Class”)
 3

 4   defined as follows:

 5         All persons in the United States (a) to whom Defendant or a third party
 6         acting on Defendant’s behalf, made one or more non-emergency phone
           call(s); (b) promoting Defendant’s products or services; (c) to his/her
 7         cellular telephone number; (d) without his/her express written consent;
 8         (e) using an automatic telephone dialing system; (f) within the four years
           preceding the date of the filing of the original complaint through the date
 9         of class certification.
10
           36.    The following individuals are excluded from the Putative Class: (1) any
11

12   Judge or Magistrate Judge presiding over this action and members of their families;
13   (2) Defendant, Defendant’s subsidiaries, parents, successors, predecessors, and any
14
     entity in which Defendant or its parents have a controlling interest and their current
15

16   or former employees, officers and directors; (3) Plaintiff’s attorneys; (4) persons who
17   properly execute and file a timely request for exclusion from the Putative Class; (5)
18
     the legal representatives, successors or assigns of any such excluded persons; and (6)
19

20   persons whose claims against Defendant have been fully and finally adjudicated
21
     and/or released.
22
     A.    Numerosity
23

24         37.    Upon information and belief, the members of the Putative Class are so
25
     numerous that joinder of them is impracticable.
26
           38.    The exact number of the members of the Putative Class is unknown to
27

28   Plaintiff at this time and will be determined through targeted discovery.
                                                 6
Case 8:20-cv-02389-CJC-ADS Document 1 Filed 12/21/20 Page 7 of 12 Page ID #:7



 1         39.    The members of the Putative Class are ascertainable because the Class
 2
     is defined by reference to an objective criteria.
 3

 4         40.    The members of the Putative Class are identifiable in that their names,

 5   addresses, and telephone numbers can be identified in business records maintained
 6
     by Defendant.
 7

 8   B.    Commonality and Predominance
 9         41.    There are many questions of law and fact common to the claims of
10
     Plaintiff and members of the Putative Class.
11

12         42.    Those questions predominate over any questions that may affect
13   individual members of the Putative Class.
14
     C.    Typicality
15

16         43.    Plaintiff’s claims are typical of members of the Putative Class because
17   Plaintiff and members of the Putative Class were harmed by Defendant’s conduct
18
     and thus are entitled to damages as result of Defendant’s conduct.
19

20

21

22
     D.    Superiority and Manageability
23

24         44.    This case is also appropriate for class certification as class proceedings
25
     are superior to all other available methods for the efficient and fair adjudication of
26
     this controversy.
27

28
                                                 7
Case 8:20-cv-02389-CJC-ADS Document 1 Filed 12/21/20 Page 8 of 12 Page ID #:8



 1          45.      The damages suffered by the individual members of the Putative Class
 2
     will likely be relatively small, especially given the burden and expense required for
 3

 4   individual prosecution.

 5          46.      By contrast, a class action provides the benefits of single adjudication,
 6
     economies of scale, and comprehensive supervision by a single court.
 7

 8          47.      Economies of effort, expense, and time will be fostered and uniformity
 9   of decisions ensured.
10
     E.     Adequate Representation
11

12          48.      Plaintiff will adequately and fairly represent and protect the interests of
13   the Putative Class.
14
            49.      Plaintiff has no interests antagonistic to those of the Putative Class and
15

16   Defendant has no defenses unique to Plaintiff.
17          50.      Plaintiff has retained competent and experienced counsel in consumer
18
     class action litigation.
19

20                                    CLAIMS FOR RELIEF
21
                                            COUNT I:
22                Telephone Consumer Protection Act (47 U.S.C. § 227 et. seq.)
                   (On behalf of Plaintiff and members of the Putative Class)
23

24
            51.      All paragraphs of this Complaint are expressly adopted and incorporated
25

26   herein as though fully set forth herein.
27

28
                                                    8
Case 8:20-cv-02389-CJC-ADS Document 1 Filed 12/21/20 Page 9 of 12 Page ID #:9



 1         52.    Among other things, the TCPA prohibits certain calls to wireless and
 2
     residential numbers unless the caller has the prior express consent of the called party.
 3

 4   47 U.S.C. §227(b)(1)(A).

 5         53.    Under the TCPA consent rules, some types of calls require prior express
 6
     written consent, while other types of calls do not require that the consent be in
 7

 8   writing.
 9         54.    “Prior   express    written    consent”    is   required    for   (a)   all
10
     telemarketing/promotional calls/texts placed using an ATDS to wireless numbers,
11

12   and (b) all artificial or prerecorded telemarketing/promotional voice calls to wireless
13   and residential numbers.
14
           55.    The TCPA consent rules define “prior express written consent” as “an
15

16   agreement, in writing, bearing the signature of the person called that clearly
17   authorizes the seller to deliver or cause to be delivered to the person called
18
     advertisements or telemarketing messages using an ATDS or an artificial or
19

20   prerecorded voice, and the telephone number to which the signatory authorizes such
21
     advertisements or telemarketing messages to be delivered.”
22
           56.    As pled above, Defendant placed or caused to be placed telemarketing
23

24   calls, including but not limited to the aforementioned calls, to Plaintiff’s cellular
25
     telephone, utilizing an ATDS without his express written consent in violation of 47
26
     U.S.C. § 227 (b)(1)(A)(iii).
27

28
                                                 9
Case 8:20-cv-02389-CJC-ADS Document 1 Filed 12/21/20 Page 10 of 12 Page ID #:10



   1          57.   The TCPA defines ATDS as “equipment which has the capacity—(A)
   2
       to store or produce telephone numbers to be called, using a random or sequential
   3

   4   number generator; and (B) to dial such numbers.” 47 U.S.C. § 227(a)(1).

   5          58.   Upon information and belief, based on the lack of prompt human
   6
       response during the phone calls in which Plaintiff answered, Defendant used an
   7

   8   ATDS to place calls to Plaintiff’s cellular phone number.
   9          59.   Upon information and belief, the dialing system employed by Defendant
  10
       transfers the call to a live agent once a human voice is detected, thus resulting in a
  11

  12   lengthy period of dead air as Defendant’s dialing system connects Plaintiff to a live
  13   representative.
  14
              60.   As pled above, Plaintiff never provided Defendant with consent to place
  15

  16   calls to his cellular phone.
  17          61.   As pled above, Plaintiff was harmed by Defendant’s telemarketing calls
  18
       to his cellular phone.
  19

  20          62.   Upon information and belief, Defendant knew its telemarketing
  21
       practices were in violation of the TCPA yet continued to employ them to maximize
  22
       profits.
  23

  24          63.   As a result of Defendant’s violations of the TCPA, Plaintiff and the
  25
       members of the Putative Class are entitled to receive $500.00 in damages for each
  26
       such violation.
  27

  28
                                                 10
Case 8:20-cv-02389-CJC-ADS Document 1 Filed 12/21/20 Page 11 of 12 Page ID #:11



   1         64.    As a result of Defendant’s knowing and willful violations of the TCPA,
   2
       Plaintiff and the members of the Putative Class are entitled to receive up to $1,500.00
   3

   4   in treble damages for each such violation.

   5         WHEREFORE, Plaintiff, on behalf of himself and the members of the
   6
       Putative Class, requests the following relief:
   7

   8         A.     an order granting certification of the Putative Class, including the
   9                designation of Plaintiff as the named representative, and the
  10
                    appointment of the undersigned as Class Counsel;
  11

  12         B.     an order finding that Defendant violated 47 U.S.C. § 227 (b)(1)(A)(iii);
  13         C.     an order enjoining Defendant from placing further violating calls to
  14
                    consumers;
  15

  16         D.     an award of $500.00 in damages to Plaintiff and the members of the
  17                Putative Class for each such violation;
  18
             E.     an award of treble damages up to $1,500.00 to Plaintiff and the members
  19

  20                of the Putative Class for each such violation; and
  21
             F.     an award of such other relief as this Court deems just and proper.
  22
                                 DEMAND FOR JURY TRIAL
  23

  24         Pursuant to Fed. R. Civ. P. 38(b), Plaintiff, on behalf of himself and the
  25
       members of the putative class members, demands a trial by jury.
  26

  27

  28
                                                    11
Case 8:20-cv-02389-CJC-ADS Document 1 Filed 12/21/20 Page 12 of 12 Page ID #:12



   1   Dated: December 21, 2020                      Respectfully submitted,
   2
                                                     RADLEY BRADFORD
   3

   4                                                 By: /s/ Nicholas M. Wajda

   5                                                 Nicholas M. Wajda
   6                                                 WAJDA LAW GROUP, APC
                                                     6167 Bristol Parkway
   7                                                 Suite 200
   8                                                 Culver City, California 90230
                                                     +1 310-997-0471
   9                                                 nick@wajdalawgroup.com
  10

  11

  12

  13

  14

  15

  16

  17

  18

  19

  20

  21

  22

  23

  24

  25

  26

  27

  28
                                            12
